      Case 1:13-cr-00031-ESH Document 63 Filed 12/13/13 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        *
                                                *
               v.                               *            Case No. CR-13-301(ESH)
                                                *
BENJAMIN BRANDON GREY                           *
                                                *
                                              ****

  DEFENDANT’S POSITION WITH RESPECT TO SENTENCING FACTORS

       Pursuant to 18 U.S.C. § 3553(a) and Rule 32 of the Federal Rules of Criminal

Procedure, the Defendant, Benjamin Brandon Grey, by and through counsel, submits the

following Position With Respect to Sentencing Factors.

       On September 20, 2013 Mr. Grey was found guilty by a jury of 21 counts of

violations of federal and local fraud charges. He is presently incarcerated and is being

held without bond. Mr. Grey has several objections to the Presentence Report (“PSR”)

and submits that the Advisory Sentencing Guideline range in this case is Offense Level

21, Criminal History category III with a guideline range of 46-57 months.

       Mr. Grey respectfully submits that a sentence within this guideline range is

“sufficient, but not greater than necessary” to comply with the factors set out in 18 U.S.C.

§ 3553(a). United States v. Booker, 125 S. Ct. 738, 766-67 (2005).



          DEFENDANT’S OBJECTIONS TO THE PRESENTENCE REPORT



       1. Mr. Grey denies all of the allegations regarding related conduct contained in

paragraphs numbered 64, 65, 66, 69, 70, 71,72,73,74,75,76,77,78,79. He objects to the
       Case 1:13-cr-00031-ESH Document 63 Filed 12/13/13 Page 2 of 3



amount of the alleged losses being included as related conduct thereby increasing his

offense level by two additional points. None of this conduct was proven at trial and the

allegations in the report do not support a finding by the court that this alleged conduct

was part of an ongoing criminal scheme or similar to the crimes for which he was

convicted.

        2. Mr. Grey also objects to the increase of the number of victims from 9 (proven

at trial) to 10.

        3.    Mr. Grey also objects to the increase for the adjustment for his role in the

offense. There was no evidence presented at trial that would allow the court to make a

finding that his “cousin John” or his assistant, Ms. Reis were participants in the acts

charged. Nor is there sufficient evidence to find that Mr. Hill or Ms. Bertelsen were

participants.

                            SENTENCING AFTER BOOKER

        On January 12, 2005 when the Supreme Court handed down United States v.

Booker, 125 S.Ct. 738 (2005), the federal Sentencing Guidelines ceased to be mandatory,

becoming one of several factors to be considered under 18 U.S.C. § 3553(a); see United

States v. Hughes, 396 F.3d 374, 378-79 (4th Cir. 2005) (“[A] district court shall first

calculate . . . the range prescribed by the guidelines. Then the court shall consider that

range as well as other relevant factors set forth in § 3553(a) before imposing the

sentence.”). Under § 3553(a), courts must consider: (a) the nature and circumstances of

the offense and the history and characteristics of the defendant; (b) the kinds of sentences

available; (c) the Guideline range; (d) the need to avoid unwanted sentencing disparities;

(e) the need for restitution; (f) the need for the sentence to reflect the seriousness of the
      Case 1:13-cr-00031-ESH Document 63 Filed 12/13/13 Page 3 of 3



offense, to promote respect for the law and provide just punishment for the offense, to

afford adequate deterrence, to protect the public from future crimes, and to provide

the defendant with reasonable rehabilitative opportunities.



       I.      The Purposes of Sentencing Set out in 18 U.S.C. § 3553(a)(2)

       The Court must consider the factors set out in § 3553(a) and impose a sentence

that is “sufficient, but not greater than necessary” to comply with four stated purposes of

sentence – just punishment, deterrence, protection of the public, and the rehabilitative

needs of the defendant. A sentence of 46-57 months is sufficient to meet these purposes.

Mr. Grey is an alcoholic. It is not an excuse for the behavior that he was convicted of but

it is clear from the history that he provided to the presentence writer and the evidence at

trial of daily drinking, clubbing and partying suggest that he needs treatment and

counseling.

       Wherefore, defendant prays that the Court impose a sentence within the

guidelines of 46-57 months.



                                                     Respectfully submitted,



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